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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   SECURITIES AND EXCHANGE COMMISSION,

                        Plaintiff,
                                                         CASE NO.: 0:23-cv-61179-AHS
   v.

   ROYAL BENGAL LOGISTICS, INC., and
   SANJAY SINGH,

                        Defendants,

   SHEETAL SINGH and CONSTANTINA
   CELICOURT,

                     Relief Defendants.
   ____________________________________________/

               NOTICE OF CHANGE OF FIRM AND CONTACT INFORMATION

         Pursuant to Local Rule 11.1(g) for the Southern District of Florida and CM/ECF

  Administrative Procedures 3D, attorney Russell R. O’Brien provides notice of the following

  change of firm and contact information. All future Court filings and notices issued through

  CM/ECF shall be sent to:

                Securities and Exchange Commission
                801 Brickell Avenue, Suite 1950
                Miami, Florida 33131
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         Dated: June 26, 2023               Respectfully submitted,


                                            ____________________________
                                            Russell R. O’Brien
                                            Trial Counsel
                                            Florida Bar No. 084542
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